            Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 1 of 40



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               (SOUTHERN DIVISION)


JAKE’S FIREWORKS INC.                                 *
1500 E. 27th Terrace
Pittsburg, KS 66762                                   *

       Plaintiff,                                     *

v.                                                    *      Case No.

UNITED STATES CONSUMER PRODUCT                        *
SAFETY COMMISSION
4330 East-West Highway                                *
Bethesda, MD 20814
                                                      *
and
                                                      *
ROBERT S. ADLER, in his official
capacity as Acting Chairman of the                    *
UNITED STATES
CONSUMER PRODUCT SAFETY                               *
COMMISSION
4330 East-West Highway                                *
Bethesda, MD 20814
                                                      *
       Defendants.
                                                      *

*      *        *      *       *      *       *       *      *      *       *      *       *

             COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

       1.       Jake’s Fireworks Inc. (“Jake’s”), plaintiff, by its undersigned counsel, files this

Complaint for Injunctive and Declaratory Relief against the United States Consumer Product

Safety Commission (“CPSC” or “Commission”) and against Robert S. Adler in his official

capacity as Acting Chairman of the Commission.

                                          INTRODUCTION

       2.       For more than forty years, the federal agencies charged with regulating hazardous



                                                  1
            Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 2 of 40



consumer products have consistently and explicitly concluded that small reloadable aerial shells,

a type of consumer firework device, are neither unreasonably dangerous nor banned by current

regulations. That consistent conclusion is found in informal agency documents, public statements,

and formal findings in the Federal Register, among other places. The CPSC—the federal agency

in charge of administering federal regulations on many hazardous products—acknowledged the

lack of such a ban as recently as 2018 in a staff briefing document, when the Commissioners

considered promulgating a new and objective hazardous substances ban on small reloadable aerial

shells under 16 C.F.R § 1500.17(a)(3) (the “Audible Effects Regulation”).

       3.       Contrary to the CPSC’s longstanding conclusion that small reloadable aerial shells

are not banned hazardous products under the Federal Hazardous Substances Act (“FHSA”) and its

implementing regulations, CPSC staff have nevertheless asserted that an existing ban does apply

to such shells. Specifically, CPSC staff has asserted that some small reloadable aerial shells do

violate 16 C.F.R. § 1500.17(a)(3), which applies to certain devices that are “intended to produce

audible effects,” and, therefore, are banned under that regulation. The CPSC has repeatedly sent

Jake’s Letters of Action (“LOAs”), maintaining that reloadable aerial shells imported by Jake’s

were intended to produce audible effects. To avoid the criminal and severe civil penalties that

would result from failing to comply with these LOAs, Jake’s has quarantined millions of dollars

of product.

       4.       These LOAs never explain the CPSC’s purported authority for applying the

“audible effects” standard to Jake’s products, especially given the CPSC’s consistent historical

statements in the rulemaking context that the small reloadable aerial shells were not banned.

Moreover, the LOAs fail to document the results of the tests conducted to apply the “audible

effects” standard to Jake’s products.




                                                2
            Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 3 of 40



       5.       Furthermore, the “audible effects” test procedure, also known as the “ear test” or

“poof/bang test,” does not appear in the Code of Federal Regulations. It apparently involves

lighting the firework in an open air environment, under undisclosed conditions, and listening for

whether the firework emits a sounds more like a “poof” versus a “bang.” If the investigator thinks

she or he has heard a bang, then she or he deems the product to have been intended to create an

“audible effect,” and therefore to have satisfied an essential element for a violation of 16 C.F.R. §

1500.17(a)(3). There are no objective measurements taken in conducting the “poof/bang test,” so

no results of such measurements are conveyed with the LOAs.

       6.       Jake’s, the plaintiff in this action, is one of the nation’s largest importers and

distributors of consumer fireworks (designated as 1.4G, UN 0336). Small reloadable aerial shell

fireworks are a vital part of Jake’s wholesale and retail market. Jake’s has quarantined thousands

of reloadable aerial shells, which it cannot sell without incurring the CPSC’s draconian penalties

outlined in the LOAs.

       7.       Jake’s seeks a declaratory judgment from this Court clarifying that the “audible

effects” standard in 16 C.F.R. §1500.17(a)(3) does not apply to Jake’s small reloadable aerial shell

fireworks, or—in the alternative—that the agency’s enforcement of the “audible effects”

regulation is arbitrary and capricious and therefore unlawful.

       8.       Jake’s instituted an action in this Court seeking such declaratory relief. See Jake's

Fireworks Inc. v. United States Consumer Prod. Safety Comm’n et al., Case No. 8:19-cv-011161-

PWG (D. Md.), ECF 1. However, on October 30, 2020, the Court (per the Honorable Paul W.

Grimm) dismissed that action without prejudice for lack of subject matter jurisdiction, ruling that

the amended complaint did not demonstrate that the CPSC had taken “final agency action” as

required for judicial review under the Administrative Procedure Act (“APA”). Jake's Fireworks




                                                  3
            Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 4 of 40



Inc. v. United States Consumer Prod. Safety Comm'n, 498 F. Supp. 3d 792, 807 (D. Md. 2020).

Referring to the enforcement letter at issue (the “Notice”) and the CPSC’s Regulated Products

Handbook (“Handbook”), Judge Grimm held:

       In sum, based on my review of Jake’s Fireworks allegations as well as the letters
       and Handbook, I conclude that the Notice was not the consummation of the
       Commission’s decision-making process. While the process was nearing its end,
       there are still steps that Jake’s Fireworks may take, such as request a hearing or
       reconsideration. Therefore, Jake’s Fireworks has failed to satisfy the first prong of
       the Bennett [v. Spear, 520 U.S. 154 (1997)] test.

Id. at 806.

       9.       As alleged below, in late 2020 and early 2021 Jake’s heeded this Court’s guidance

and exchanged correspondence with the Director of the CPSC’s Office of Compliance and Field

Operations. Through this correspondence, Jake’s took all steps available to it, including presenting

evidence and requesting an informal hearing and reconsideration by the agency, which requests

were denied. The Director’s responses, combined with the agency’s earlier notices and actions,

demonstrate that the CPSC has taken final agency action as required for judicial review under the

APA with respect to the agency’s erroneous determinations that Jake’s small reloadable aerial shell

fireworks are banned by the CPSC ban, and that the CPSC’s “poof/bang” test (see Paragraph 5,

supra) is a valid method of determining whether Jake’s products violate that ban.

       10.      Alternatively, judicial review is available under the APA because the CPSC is

intentionally seeking to evade judicial review by claiming it has not taken steps that qualify as

final agency action, while effectively imposing a de facto administrative injunction prohibiting

Jake’s from selling its lawful products.

                                            PARTIES

       11.      Plaintiff Jake’s is a Kansas corporation, located in Pittsburg, Kansas. Jake’s

exemplifies the American success story. The Marietta family sold fireworks in their backyard in



                                                 4
            Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 5 of 40



the 1940’s. Since then Jake’s has grown from a local wholesaler and retailer into one of the

nation’s largest importers and distributors of consumer fireworks. Jake’s has distribution centers

from coast to coast: South Carolina, Kentucky, Indiana, Missouri, Kansas, Texas, and Washington.

From these distribution centers, Jake’s distributes consumer fireworks into over 20 states.

       12.      The Commission is an independent regulatory commission of the United States

government, with its principal place of business in Bethesda, Maryland. The Commission is

charged with enforcing the Consumer Product Safety Act, 15 U.S.C. §§ 2051 to 2088 (“CPSA”),

and the Federal Hazardous Substances Act (“FHSA”), 15 U.S.C. §§ 1261 to 1278.

       13.      Robert S. Adler is the Acting Chairman of the Commission, having been elected

Acting Chairman effective October 1, 2019. Acting Chairman Adler’s office is at the CPSC

headquarters in Bethesda, Maryland.

                                 JURISDICTION AND VENUE

       14.      This Court has jurisdiction under 28 U.S.C. § 1331 as the case arises under 5 U.S.C.

§§ 701-706.

       15.      Venue is proper under 28 U.S.C. § 1391(b), (e).

       16.      This is a challenge to final agency action. See Paragraphs 82 - 91, infra.

                                         BACKGROUND

       17.      Fireworks are considered explosives and are classified by the Pipeline and

Hazardous Material Safety Administration (“PHMSA”) of the Department of Transportation

(“DOT”). All explosives, from military devices down to consumer fireworks, must meet PHMSA

standards and be approved before they can be transported within the United States. See 49 C.F.R.

§ 173.56.

       18.      Fireworks have two distinct explosive classifications based on explosive energy.

The first fireworks classification is “Display” fireworks. Display fireworks are classified as 1.3G


                                                 5
          Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 6 of 40



explosives. Display fireworks are powerful and fall under specific DOT; Bureau of Alcohol,

Tobacco, Firearms and Explosives (“ATF”); National Fire Protection Association; and CPSC

regulations. The second fireworks classification is Consumer fireworks, which are classified as

1.4G explosive devices having a minor explosion hazard. See 49 C.F.R. § 173.50. Prior to 1991,

the DOT referred to 1.4G Consumer fireworks as “Class C” common fireworks.

       19.     The reloadable aerial shell is one type of fireworks device. Reloadable aerial shells

must conform to American Pyrotechnics Association Standard 87-1, adopted by PHMSA as an

industry standard. See 49 C.F.R. §§ 173.64; 173.65. Reloadable aerial shells are classified as either

1.3G Display fireworks or 1.4G Consumer fireworks. Shells in both classifications are shot from

a separate mortar tube or launch tube. Display 1.3G aerial shells, however, may be launched only

by licensed operators because of their powerful explosive composition. 1.4G reloadable aerial

shells are launched by consumers, often in backyards.

       20.       Consumer 1.4G reloadable aerial shells are shot from the mortar tube 40 to 50 feet

in the air. At that point the burst charge component ignites, propelling visual effects across the

sky. It is the sound made by the burst charge component of the 1.4G consumer reloadable aerial

shell that the CPSC uses to determine if the reloadable aerial shell is intended to create an “audible

effect” under 16 C.F.R. § 1500.17(a)(3).

                                     Regulatory Background

A.     16 C.F.R. § 1500.17(a)(3) Does Not Apply to Jakes’ Small Reloadable Aerial Shell
       Fireworks.

       21.     The Audible Effects Regulation, 16 C.F.R. § 1500.17(a)(3), is one of the Banned

Hazardous Substance provisions of the FHSA.

       22.     While fireworks are typically thought of as celebratory displays, other types of

explosives have a number of utilitarian uses. For example, M-80s and cherry bombs are explosives



                                                  6
          Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 7 of 40



which create no visual display, but emit a loud sound (called a “report,” much like the sound of a

rifle). These explosives, called Explosive Pest Control Devices, are often used by farmers to scare

birds and other pests away from their crops, among other uses. Explosive Pest Control Devices

are governed by regulations promulgated by the ATF.

       23.     To create their loud report, M-80s and similar devices include a large explosive

charge which can—and, historically, did—lead to injury. The injury risk is exacerbated by the

fact that these are handheld devices which may go off in close proximity to their user, exposing

the person using them to a dangerous explosion at close range.

       24.     Federal law provides for the regulation and ban of hazardous items through the

FHSA. The statute imposes labeling requirements on any item that the operative agency finds,

through notice-and-comment rulemaking, to be hazardous; alternatively, the agency may find,

through notice-and-comment rulemaking, that the item cannot be rendered non-hazardous even by

affixing a warning label. In such cases, the item may be banned from introduction into interstate

commerce by regulation.

       25.     The agency originally responsible for administering the FHSA was the Food and

Drug Administration (“FDA”). In 1969, the FDA published a Notice of Proposed Rulemaking

(“NPR”) pursuant to the FHSA to ban consumer use of Explosive Pest Control Devices. 34 Fed.

Reg. 260 (Jan. 8, 1969). That regulation was adopted in 1970, is now codified at 16 C.F.R. §

1500.17(a)(3), and bans “fireworks devices intended to produce audible effects (including, but not

limited to) to cherry bombs, M-80 salutes, silver salutes, and other large firecrackers, aerial bombs,

and other fireworks designed to produce audible effects . . . if the audible effect is produced by a

charge of more than 2 grains [130 mg] of pyrotechnic composition.”

       26.     As the FHSA requires, the FDA, in promulgating the 1970 regulation, ensured the




                                                  7
          Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 8 of 40



regulation “impose[d] the least burdensome requirement which prevents or adequately reduces the

risk of injury for which the regulation is being promulgated.” 15 U.S.C. § 1262(i)(2)(C).

Specifically, in the preamble to the final rule, the FDA noted that the risk it was concerned with

was that “[p]roducts ostensibly intended for agricultural use have been diverted and sold to the

general public (including children),” causing severe injuries. In explaining its decision to ban only

these agriculture-related fireworks, the FDA stated:

       The intention is not to ban so-called “Class C” common fireworks, but
       only those designed to produce audible effects by a charge of over 2 grains
       of pyrotechnic composition. (Propelling and expelling charges consisting
       of a mixture of sulfur, charcoal and saltpeter are not considered as designed
       to produce an audible effect.) The Commissioner’s primary concern in this
       matter is to close the loophole through which dangerously explosive
       fireworks, such as cherry bombs, M-80 salutes, and similar items, reach the
       general public.

35 Fed. Reg. 7415 (May 13, 1970) (emphasis added).

       27.     Thus, the agency that had the regulatory authority at the time specifically justified

this regulation with reference to devices other than “Class C common fireworks,” and expressly

disclaimed any intent to ban Class C devices. Indeed, the agency was legally required to restrict

the regulation this way, since Class C common fireworks had nothing to do with the diversion of

“[p]roducts ostensibly intended for agricultural use” that justified the regulation in the first place;

therefore, any restriction that also encompassed Class C common fireworks would not have been

the least burdensome way of achieving the agency’s goals.

       28.     This limitation is significant because the CPSC has applied that regulation to seize

Jake’s 1.4G consumer reloadable aerial shells, which under the pre-1991 classification system (see

Paragraph 18, supra) would be Class C fireworks and, therefore, exempt from the regulation at 16

C.F.R. §1500.17(a)(3).

       29.     Notably, neither the notice of proposed rulemaking nor the 1970 final rule identified



                                                  8
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 9 of 40



any risk to consumers from the audible effect of banned devices; rather, the fact that the device

was “intended to produce audible effects” was a “proxy” for its similarity to the highly explosive

agricultural devices that concerned the FDA. Fireworks Final Rule Briefing Package at (“2018

Briefing Package”) at 79 (Sept. 26, 2018), available at https://www.cpsc.gov/s3fs-

public/Final%20Rule%20-%20Amendments%20to%20Fireworks%20Regulations%20-

%20September%2026%202018%20%281%29.pdf?yr30bGVazalQcEbznbPy46T81o1iuIFr

(“Because CPSC does not have information indicating that injuries are related to particular

volumes of fireworks sound, [staff] did not consider adopting a requirement to limit the volume of

fireworks sounds. As noted elsewhere, the phrase ‘intended to product [sic] audible effects’ was

intended as a proxy for high explosive power, not to limit some harmful level of sound.”). The

CPSC noted this also in 2017, when in a Notice of Proposed Rulemaking, it stated that “the

reference to ‘audible’ effects” in 16 C.F.R. § 1500.17(a)(3) “was a method of identifying” the

fireworks within the scope of the regulation “through the sound the devices make and not an

indication of any safety purpose relating to the loudness of the devices or hearing injuries.” 82

Fed. Reg. 9012, 9014 (Feb. 2, 2017) (the “2017 NPR”). In the 2017 NPR, the CPSC proposed to

eliminate the reference to intent to produce an audible effect in 16 C.F.R. § 1500.17(a)(3)

altogether. Id. at 9016.

       30.     In 1973, the newly created CPSC took over responsibility for the FHSA from the

FDA. 15 U.S.C. § 2079. When the CPSC assumed responsibility for this statute, it adopted the

existing FDA regulations without change, transferring the regulations from 21 C.F.R. Part 191 to

16 C.F.R. Part 1500. 38 Fed. Reg. 27012 (September 27, 1973).

       31.     In 1990, the CPSC examined the regulation of reloadable shell devices. It published

an Advanced Notice of Proposed Rulemaking (“ANPR”) in the Federal Register entitled




                                                9
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 10 of 40



“Reloadable Tube Aerial Shell Fireworks Devices.” 55 Fed. Reg. 31069 (July 31, 1990). The

ANPR described the products at issue in the proposed regulation as follows:

       Reloadable tube aerial shell fireworks devices . . . are Department of
       Transportation (“DOT”) Class C common fireworks devices. Typically,
       these devices consist of a cardboard tube approximately 11 inches tall and
       separate shells that are placed inside of the tube. Four nominal sizes of
       shells are available for consumer use: 1.5, 1.75, 2 and 2.25 inches in
       diameter. Although soliciting information concern[ing] all sizes of
       reloadable shells, the ANPR considers additional regulation of only those
       reloadable tube aerial shells fireworks devices with shells greater than 1.75
       inches in diameter or smaller shells with explosive power that exceeds that
       of a shell 1.75 inches in diameter.

Id. at 31069 (emphasis added).

       32.     The CPSC’s ANPR further stated:

       Under the Commission’s existing regulations, reloadable tube aerial
       shells are not banned hazardous substances. The Commission staff has
       information indicating that devices with shells greater than 1.75 inches may
       pose an unreasonable risk of injury. Devices like the reloadable shell
       devices were not widely distributed when the Commission developed its
       current fireworks regulations. Thus, the existing regulations do not
       specifically address hazards posed by these devices. No other changes to
       the existing fireworks regulations are within the scope of this ANPR.

Id. (emphasis added).

       33.     By acknowledging that consumer reloadable aerial shells “are not banned

hazardous substances,” the CPSC conceded in 1990 that none of its existing regulations—

including the 1970 “audible effect” regulation—applied to reloadable tube aerial shells of any size.

When it proposed regulating reloadable shell fireworks, the CPSC further stated that it had

information supporting a ban of large reloadable shell (e.g., shells whose outer diameter exceeded

1.75 inches), but the CPSC pointed to no evidence that smaller reloadable shells needed to be

regulated.

       34.     In February 1991, the CPSC continued the rulemaking process with a Notice of




                                                10
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 11 of 40



Proposed Rulemaking (“NPR”), in which it explained its proposed ban of large reloadable shells.

In this NPR, the CPSC stated:

       Other products exist which retailers and consumers could substitute for
       reloadable devices using shells larger than 1.75 inches if the proposed ban
       became effective. In addition to reloadable shell devices using shells 1.75
       inches and smaller, there are non-reloadable aerial devices.

56 Fed. Reg. 6321, 6323 (February 15, 1991) (emphasis added). The CPSC thus affirmed the

continued legality and availability of small reloadable aerial shells.

       35.     At the conclusion of its notice-and-comment process, the CPSC finalized a

regulation that, consistent with the NPR, banned “[r]eloadable tube aerial shell fireworks devices

that use shells larger than 1.75 inches in outer diameter.” 56 Fed. Reg. 37831 (Aug. 9, 1991)

(promulgating 16 C.F.R. § 1500.17(a)(11)(i)). In finalizing the regulation, the CPSC noted that

issuing the regulation required that it “make certain findings and … include these findings in the

regulation.” Id. § 1500.17(a)(11)(ii)(A). One such finding was that the agency had considered—

and rejected—the alternative of “inclusion of some reloadable shells 1.75 inches or smaller in

the ban.” Id. § 1500.17(a)(11)(ii)(D) (emphasis added).

       36.     In promulgating the Final Rule, the CPSC contemplated whether to ban “reloadable

shells that are 1.75 inches or less in outer diameter and have the ‘equivalent explosive power’ of

larger shells.” Id. § 1500.17(a)(11)(ii)(D)(3). But the agency concluded that a safety rationale for

such a ban, even if tied to the kinetic energy level of the exploded firework, “could not be

established.” Id. Thus, the agency concluded that a ban on any small reloadable aerial shell

fireworks simply was not justified under the statutory scheme, and that a ban on large shells

would “virtually eliminate” the injuries that it was concerned with. Id. § 1500.17(a)(11)(ii)(C).

       37.     In 2017, the CPSC again contemplated its regulations regarding reloadable aerial

shells and proposed a rule banning certain small reloadable aerial shells based on the presence of



                                                 11
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 12 of 40



certain metals in the burst charge. (82 Fed. Reg. 9012 (February 2, 2017)) (the “2017 NPR”).

CPSC staff then prepared a briefing package for the CPSC commissioners, summarizing the

comments received in response to the 2017 NPR and proposing that the rule be finalized, in

relevant part, consistent with the 2017 NPR. See 2018 Briefing Package at 1.

       38.     The 2018 staff Briefing Package noted that “no [current] CPSC regulation limits

the quantity of explosive composition” for small reloadable aerial shells where the sound they

produce is “incidental to the dispersion of visual effects,” as “the limit in § 1500.17(a)(3) does not

apply” in that circumstance. Id. at 14. Although the agency’s staff could not “calculate a statistical

relationship between explosive power and injuries,” staff nonetheless asserted, albeit without

evidentiary basis, that “[l]imiting the amount of explosive power of these types of fireworks

devices will reduce the severity of health effects.” Id. at p. 13. This statement is contradicted by

the Commission’s finding in the 1991 Final Rule that there was no safety rationale to ban the

smaller reloadable aerial shells on grounds tied to kinetic energy.

       39.     On October 3, 2018, the presidentially-appointed CPSC commissioners considered,

but did not adopt, the staff’s proposed rule, with several commissioners observing instead that staff

had not presented sufficient evidence to overrule the 1991 and 1970 determinations that small

reloadable aerial shells could not be banned. The commissioners asked staff to reevaluate the

proposed final rule; on information and belief, that reevaluation remains pending. In other words,

the CPSC acknowledged less than three years ago that there was no ban of small reloadable aerial

shells in its regulations, and that creating such a ban would require notice-and-comment

rulemaking, but that the CPSC has not at this time found a factual basis to promulgate such a ban.




                                                 12
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 13 of 40



       40.     Thus, the CPSC’s own historic publications and statements consistently show that

16 C.F.R. § 1500.17(a)(3) does not apply to reloadable aerial shells of 1.75 inches or less in

diameter.

       41.     Notwithstanding the clear and consistent conclusion that 16 C.F.R. § 1500.17(a)(3)

does not apply to reloadable aerial shells of 1.75 inches or less in diameter, the CPSC’s

enforcement staff began in the 1990s applying the “intent to create audible effects” regulation to

small reloadable aerial shells, banning the importation or sale of many such shells. The CPSC took

these actions despite the FDA Commissioner’s 1970 statement excluding consumer fireworks from

this regulation and the absence of any subsequent regulatory decision-making to extend the

regulation to small reloadable aerial shells. Before these enforcement actions, the CPSC conducted

no further notice and comment rulemaking and made no announcement explaining why this

enforcement activity began, or how it is consistent with the regulation and its regulatory history.

B.     The CPSC Uses an Unreasonable, Subjective, Arbitrary and Capricious Test to
       Determine Whether a Fireworks Device is Intended to Produce An Audible Effect.

       42.     The CPSC uses a two-part test to determine whether small reloadable aerial shells

are banned hazardous substances under 16 C.F.R. § 1500.17(a)(3). The first part of the test

determines whether a fireworks device is “intended to produce an audible effect.” If that part of

the test is positive, then, in the second part of the test, measurements are made to determine if the

audible effect was produced by more than 2 grains of pyrotechnic composition. The first part of

the test – used to determine whether a fireworks device is “intended to produce an audible effect”

– is unscientific, subjective, and arbitrary and capricious. Moreover, this two-step methodology

has never been the subject of notice and comment rulemaking or any official publication.

       43.     United States v. Shelton Wholesale, Inc., 34 F. Supp. 2d 1147 (W.D. Mo. 1999),

aff’d on other grounds, 277 F.3d 998 (8th Cir. 2002), cert. denied, 537 U.S. 1000 (2002), provided



                                                 13
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 14 of 40



the first public statements that the CPSC employs the two-test methodology in enforcing 16 C.F.R.

§1500.17(a)(3). The Shelton defendants contended that small reloadable aerial shell devices could

have been intended to create either auditory or visual effects – not both. Id. at 1158. But they did

not challenge the scope of 16 C.F.R. §1500.17(a)(3) nor the CPSC’s testing methodology.

        44.      During the Shelton case, the CPSC Laboratory chief, Warren Porter, provided the

first public explanation of the two-step methodology under 16 C.F.R. §1500.17(a)(3). As the

district court summarized, Porter testified at trial that “the CPSC determines whether a device is

intended to produce an audible effect by firing the device and determining whether it goes ‘pop’

or ‘poof’ when the visual effect (generally stars) is seen or ‘boom’ or ‘bang’ when the visual effect

occurs.” Id. The CPSC only measures the material composition if the technician hears a “boom”

or “bang.” Id.

        45.      The “poof/bang” standard is sometimes referred to as the “ear” test because the

instrumentality used to make the threshold determination is a human ear. On information and

belief, the CPSC has not altered this two-part test methodology since Shelton, and the “poof/bang”

test remains the CPSC’s method for applying 16 C.F.R. §1500.17(a)(3). See 2018 Briefing

Package at 12 (“To determine ‘intent to produce an audible effect,’ CPSC staff listens to the device

during field testing and based on the sound, determines whether the applicable ‘loud report’ was

detected. If staff hears a ‘loud report,’ staff considers the fireworks device ‘intended to produce

an audible effect,’ in which case, the burst charge (which causes the audible effect) is limited to 2

grains (130 mg).”) (citing testing manual); id. at 96 (“To enforce the current requirements, CPSC

staff uses what is often referred to as the ‘amount’ test or ‘ear’ test. . . . The ‘amount’ test involves

a technician listening to the device during field testing and determining whether or not the sound

heard was intentional or a byproduct of the functioning of the device. If staff determines that the




                                                   14
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 15 of 40



sound is intentional, the device is considered to be ‘intended to produce an audible effect.’”).

       46.     The “poof/bang” or “ear” test appears nowhere in the text of the regulation itself,

and appears to have been invented by CPSC staff as a proxy for whether a device was “intended

to produce an audible effect.” If a device “failed” the “poof/bang” test by emitting what staff

considers a “bang,” the agency would consider the device to have been “intended to produce an

audible effect,” and would then measure the pyrotechnic material contained therein to determine

whether the “bang” was caused, in violation of the regulation, by “a charge of more than 2 grains

of pyrotechnic composition.” 16 C.F.R. § 1500.17(a)(3). Although a “poof” is also a kind of

audible effect, CPSC staff have decided that devices making what they consider a “poof” sound

are not “intended to produce an audible effect,” and therefore not subject to the 2 grain limit. Upon

information and belief, the “poof/bang” test was not challenged as arbitrary in Shelton. So, not

surprisingly, the court in Shelton did not address that issue.

       47.     The “poof/bang” or “ear” test is an unscientific methodology for determining an

“intent to produce an audible effect,” and is subjective, arbitrary, and capricious. The CPSC’s

Consumer Fireworks Testing Manual (“CPSC Testing Manual”) shows that CPSC staff do not

engage in even minimally acceptable laboratory practices when applying the “poof/bang”

standard, exacerbating its unreasonableness and illegality. CPSC Testing Manual at 1 (available

at https://www.cpsc.gov/PageFiles/121068/testfireworks.pdf).         The CPSC Testing Manual

specifically references the Audible Effects Regulation in its “Background” section. Id. at 2.

       48.     Scientific testing methodology mandates that the testing be conducted using a

reliable and reproducible procedure. The ear test is neither reliable nor reproducible. There is no

scientific equipment or controlled environment used in the ear test; you have a human ear listening

to a fireworks device in the open, subject to countless variables that impact sound waves, which




                                                 15
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 16 of 40



are impossible to reproduce for the next test.

       49.     The CPSC Testing Manual contains no guidelines to account for variables that may

account for differences in how the sound produced by a shell exploding 40 feet in the air is

perceived by a human ear, including factors such as ambient noise, wind, temperature, atmospheric

pressure, humidity, ground surface type, and bystanders, all of which can affect sound waves. The

CPSC staff acknowledged as much in 2018: “Because the ‘ear test’ is influenced by environmental

factors and design variations in devices, it does not produce consistent results, and one could argue

that one would have to test a large number of samples to ensure that a ‘loud report’ could not be

detected by other technicians testing the product under possibly somewhat different environmental

conditions or variations inherent in handmade products.” 2018 Briefing Package at 141. The

agency does not record, much less account for, any such environmental or other testing conditions.

       50.     The CPSC Testing Manual requires CPSC staff to document the results of their

tests using forms in the CPSC Testing Manual. See CPSC Testing Manual at 9-16 (requiring that

field test results be recorded in various sections of the “Fireworks Field Sheet,” and noting this

sheet “can be found in Appendix 1, which contains the various Fireworks Testing Data Forms”).

But none of the CPSC Testing Manual forms contains a space for recording whether the

“poof/bang” test was performed, the conditions under which it was performed, or the result of the

test. Id. at App’x 1.

       51.     The CPSC has repeatedly acknowledged that its test for determining the intent to

create an audible effect is subjective. CPSC FY 2013 Fireworks Report at 1 (“Aerial fireworks

devices intended to produce an audible effect are limited to 130 mg (2 grains) of pyrotechnic

composition according to 16 C.F.R. § 1500.17(a)(3). Because the regulation only limits the

amount of pyrotechnic composition for devices intended to produce an audible effect, compliance




                                                 16
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 17 of 40



determinations can be made only after a subjective determination of intent to produce an audible

effect.”) (emphasis added); id. at 5 (“The current test method for determining whether an aerial

fireworks device produces an audible ‘report’ that is subject to the limit of 130 mg of pyrotechnic

composition is subjective. The test method relies on listening to the functioning device for

qualitative similarities to such illegal devices as M-80s and ‘Cherry Bombs’ to make an

assessment.” (emphasis added)); CPSC FY 2012 Fireworks Report at 1 (“Staff conducted testing

to evaluate two different ways of potentially eliminating the currently subjective method of

determining intent to produce an audible effect.” (emphasis added)); id. at 4 (“The current test

method for determining whether an aerial fireworks device produces an audible ‘report’ that is

subject to the limit of 130 mg of pyrotechnic composition is subjective and relies on listening to

the functioning device to make an assessment.” (emphasis added)).

       52.     Compliance determinations can be made only after the initial subjective

determination of intent to produce an audible effect. The ear test’s subjectivity, however,

precludes any ability of fireworks manufacturers or distributors to reliably use it. The CPSC

cannot reference any objective parameters used in its own internal testing. See 2018 Briefing

Package at 12 (noting that “staff does not listen for sound level produced by a device”). Thus,

manufacturers and distributors have no way of ensuring that their products comply with the

agency’s subjective, evaluator-dependent standard.

       53.     The CPSC has also repeatedly acknowledged that its “poof/bang” test does not

ensure that the only fireworks that are banned are those which are unsafe—or that all unsafe

fireworks are banned. See, e.g., CPSC, Fireworks Safety Standards Development Project FY 2013

Status Report at 10 (Oct. 2013) (available at http://www.cpsc.gov//Global/Research-and-

Statistics/Injury-Statistics/Fuel-Lighters-and-Fireworks/FY2013FireworksStatusReport.pdf)       (in




                                                17
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 18 of 40



CPSC testing “there was no relationship between our determination of intent to produce an audible

effect [by means of the “poof/bang” test] and the potential risk of injury due to pressure wave.

This does not mean that the requirement limiting the size of devices intended to produce an audible

effect is an ineffective safety measure. Staff believes that the requirement forces manufacturers

of fireworks to limit the explosive power of large shells to prevent the devices from producing a

sound which could be considered under the regulation to show that the device was ‘intended to

produce audible effects.’ However, the results in this report seem to indicate that, given modern

fireworks production, intent to produce an audible effect may not be the best means of controlling

fireworks explosive power risks”) (emphasis added); id. at 19 (similar).

       54.     The CPSC has considered addressing the acknowledged problems with the ear test,

but has not adopted any changes to its protocols to date. Thus, on September 6, 2016, the

Commission approved and requested comments on a proposed policy statement rule on its method

of determining whether a device was subject to 16 C.F.R. § 1500.17(a)(3) (81 Fed. Reg. 61146

(Sept. 6, 2016)). In that proposal, the Commission stated that “[t]he Commission’s rules do not

further define or describe ‘devices intended to product audible effects,’ nor do they define how

the Commission will determine whether a product falls under this category.” Id. at 61146

(emphasis added). The proposed policy statement has not been adopted by the CPSC.

       55.     On February 2, 2017, the CPSC issued the 2017 NPR, seeking to amend CPSC’s

regulations regarding fireworks, including the Audible Effects Regulation. Acknowledging the

current lack of a ban for small reloadable aerial shell devices, the 2017 NPR included a proposal

to abandon the “poof/bang” (ear) test, and adopt a ban on devices with metallic fuel greater than

100 mesh in particle size in the break charge. The 2017 NPR states:

       Significant training and experience are necessary to distinguish between sounds
       that are an intentional effect of a fireworks device and sounds that are merely a



                                                18
             Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 19 of 40



           byproduct of other effects or functions of a fireworks device. CPSC staff has
           substantial training and experience to make this distinction, but the Commission
           believes that a simpler and more quantitative test would be preferable and would
           facilitate consistent and accurate industry testing.

82 Fed Reg. 9012, 9015 (Feb. 2, 2017) (emphasis added).

           56.      Despite this implicit recognition that the current regulatory framework does not

“facilitate consistent and accurate industry testing,” no final action was taken by the

Commissioners, and the CPSC continues its “poof/bang” testing methodology in enforcing 16

C.F.R. §1500.17(a)(3).

                                          FACTUAL BACKGROUND

A.         The CPSC’s Actions Concerning Jake’s Reloadable Aerial Shells

           57.      Jake’s commercially distributes many consumer fireworks, including those

commonly known as small reloadable aerial shells (“Reloadable Aerial Shells”). 1 Its top-of-the-

line Reloadable Aerial Shell is the Excalibur product line, a best seller.

           58.      Jake’s does not manufacture the Reloadable Aerial Shells it sells; instead, it

purchases and imports them from a Chinese manufacturer.

           59.      Importing the Reloadable Aerial Shells requires that Jake’s certify, among other

things, that the fireworks comply “with all rules, bans, standards, or regulations applicable to the

product under [the Consumer Product Safety Act] .” 15 U.S.C. § 2063(a)(1)(A). The certification

may be premised on “a test of each product or upon a reasonable testing program.” Id.

           60.      Beginning in approximately 2010, at the request of the CPSC, Jake’s has used

American Fireworks Standards Laboratory (“AFSL”), an independent non-profit third-party

testing laboratory, to test its fireworks for compliance with CPSC regulations. Representatives of




1
    Reloadable Aerial Shells are sometimes referred to by the CPSC as reloadable tube aerial shell devices.


                                                           19
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 20 of 40



the CPSC sit on the standards committee of AFSL.

       61.     Every Reloadable Aerial Shell imported by Jake’s is subject to the AFSL

certification program that the CPSC requested Jake’s follow, and every Reloadable Aerial Shell

imported by Jake’s has the certification required by statute.

       62.     At the United States port of entry, the CPSC inspects and samples products,

including Reloadable Aerial Shells, that are being imported into the United States and tests those

samples for compliance with its requirements. The CPSC issues to the importer of record a “CPSC

Notice of Sampling and Conditional Release.” The products are released to the importer of record

under bond, and the CPSC Notice of Sampling and Conditional Release demands that the importer

of record not distribute in commerce the shipment of product subject to the sampling until the

earlier of a determination of admissibility or 60 days. A copy of an exemplar CPSC Notice of

Sampling and Conditional Release is attached hereto as Exhibit A. Upon completion of the

sampling, the CPSC advises the importer of record of the results of its testing for admissibility. If

the CPSC determines that the product is admissible, it advises that the product can be released

from bond and distributed in commerce.

       63.     As stated in the CPSC’s Regulated Products Handbook (“Handbook”) (attached

hereto as Exhibit B): “When CPSC staff determines that a product violates a specific statute or

regulation, CPSC Office of Compliance and Field Operations generally notifies the responsible

firm . . . of the violation and requests a specific remediation of the problem.” Handbook at 5.

“Notification to the responsible party is usually in the form of an official letter,” which is referred

to as a “Letter of Advice” (“LOA”) or “Notice of Noncompliance.” Id. These letters identify the

alleged non-compliance and provide the recipient with an opportunity for an informal hearing

described in Chapter 3 of the Handbook (which is conducted by staff under delegated authority




                                                  20
        Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 21 of 40



and generally consists of exchanges of correspondence). Id. at 18-19.

       64.     The CPSC has periodically sent such Letters of Advice or Notices of

Noncompliance to Jake’s regarding its Reloadable Aerial Shells since late 2006. However,

beginning in the spring of 2014, the CPSC sampled Reloadable Aerial Shells imported by Jake’s

at an unprecedented rate. During the period from March 19, 2014 through July 20, 2018, the CPSC

collected samples of Reloadable Aerial Shells, and detained, at least temporarily, Reloadable

Aerial Shells with an approximate market value exceeding $3.7 million. The CPSC continues to

sample and detain Jake’s Reloadable Aerial Shells through the filing date of this Complaint. Based

on its past pattern and practice of conduct, and on information and belief, the CPSC will not only

continue to sample and detain Jake’s Reloadable Aerial Shells in the future, but will increase its

rate of sampling and detention.

       65.     Of those Reloadable Aerial Shells sampled, the CPSC issued Notices of

Noncompliance for approximately 33% of the sample Reloadable Aerial Shells (the “Detained

Reloadable Aerial Shells”), despite the fact that the sampled Reloadable Aerial Shells have the

same or similar design and operate in the same or similar manner; they all disperse visual effects

about 40 feet in the air. The Notices of Noncompliance issued for the Detained Reloadable Aerial

Shells effectively demanded that the shipment of Detained Reloadable Aerial Shells subject to the

sampling be destroyed and threatened civil penalties up to $15,000,000 and criminal penalties if

the Detained Reloadable Aerial Shells are introduced into commerce. A copy of an exemplar

Notice of Noncompliance dated September 18, 2018, including the attached laboratory reports, is

attached hereto as Exhibit C, and contains language similar to the other Notices of Noncompliance

received by Jake’s concerning the Detained Reloadable Aerial Shells.

       66.     The Notices of Noncompliance allege that the Detained Reloadable Aerial Shells




                                               21
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 22 of 40



violate the Audible Effects Regulation because they are “intended to produce audible effects” and

the “audible effect is produced by a charge of more than 2 grains of pyrotechnic composition.”

       67.     Some of the Notices of Noncompliance also allege that the Detained Reloadable

Aerial Shells at issue in those particular notices violate a purported “Reports Labeling

Requirement,” meaning a requirement that the warning label for the fireworks include a statement

that the product emits “reports” when used. No such specific requirement exists in the Code of

Federal Regulations and none is cited in these Notices. Instead, the Notices cite the general

fireworks labeling regulation, 16 C.F.R. § 1500.14(b)(7)(xv) (the “Labeling Regulation”). That

provision requires that the Reloadable Aerial Shells have a label “indicating to the user where and

how the item is to be used and necessary safety precautions to be observed.” But as noted above,

the CPSC has never established that a “report” is itself a hazard requiring safety precautions; thus,

there can be no requirement that the Reloadable Aerial Shells warn consumers of this purported

hazard. Moreover, the CPSC’s determination that the Reloadable Aerial Shells emit reports is

based, upon information and belief, on the same “poof/bang” test as is the determination that the

Reloadable Aerial Shells violate the Audible Effects Regulation. For the same reasons that test is

unreasonable, unlawful, arbitrary and capricious as a basis for finding a violation of the Audible

Effects Regulation, it cannot be used to find a violation of the Labeling Regulation.

       68.     Some of the Notices of Noncompliance for the Detained Reloadable Aerial Shells

came with a “Laboratory Report” purportedly containing the results of the tests under which the

CPSC made its determination that the small reloadable aerial shells violated CPSC regulations. A

copy of an exemplar “Laboratory Report” is attached hereto as Exhibit D (the exemplar

“Laboratory Report” attached hereto as Exhibit D is also part of Exhibit C). Other Notices of

Noncompliance for the Detained Reloadable Aerial Shells came with a “Laboratory/Compliance




                                                 22
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 23 of 40



Summary” which contains less information than a Laboratory Report. A copy of an exemplar

Notice of Noncompliance with an accompanying “Laboratory/Compliance Summary” is attached

hereto as Exhibit E. Neither the Laboratory Reports nor the Laboratory/Compliance Summaries

accompanying the Notices of Noncompliance for the Detained Reloadable Aerial Shells recorded

the results of the “poof/bang” test, or any other test, by which the CPSC determined that the

Detained Reloadable Aerial Shells were intended to produce audible effects and violate the

Audible Effects Regulation or the purported Report Labeling Requirement. In fact, neither the

Laboratory Reports nor the Laboratory/Compliance Summaries accompanying the Notices of

Noncompliance for the Detained Reloadable Aerial Shells record whether the “poof/bang” test

even took place, or where it took place, or by whom it was conducted. None of the Detained

Reloadable Aerial Shells were intended to produce audible effects or contain reports.

       69.     Notwithstanding that the remainder of the sampled Reloadable Aerial Shells have

the same or similar design and operate in the same or similar manner as the Detained Reloadable

Aerial Shells—and were purportedly subject to the same “poof/bang” test as the Detained

Reloadable Aerial Shells—the CPSC determined that the remainder of the sampled Reloadable

Aerial Shells were compliant, and authorized Jake’s to distribute them in commerce.

       70.     Jake’s filed responses to the Notices of Noncompliance for the Detained Reloadable

Aerial Shells in which Jake’s contested the applicability of the Audible Effects Regulation and the

purported Reports Labeling Requirement and identified for CPSC staff the deficiencies in its

testing methodology for determining whether a Reloadable Aerial Shell is “intended to produce

audible effects,” requesting that the CPSC rescind the Notices and release the Detained Reloadable

Aerial Shells without condition for introduction into commerce. A copy of an exemplar response

by Jake’s to the Notices is attached hereto as Exhibit F.




                                                 23
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 24 of 40



       71.      When the CPSC failed to respond to Jake’s responses to the Notices, Jake’s

renewed its request that the CPSC rescind the Notices and that the Detained Reloadable Aerial

Shells be released without condition for introduction into commerce.

       72.     By letter dated October 3, 2014, the CPSC reiterated its position that the Detained

Reloadable Aerial Shells violated the Audible Effects Regulation and the Reports Label

Requirement and repeated its “request” (effectively a demand) that the Detained Reloadable Aerial

Shells be destroyed. A copy of CPSC’s letter dated October 3, 2014 is attached hereto as Exhibit

G. By letter dated October 14, 2014, Jake’s filed a further response to the CPSC’s position. A

copy of Jake’s October 14, 2014 letter is attached hereto as Exhibit H.

       73.     In response to Jake’s inquiries about whether the CPSC’s October 3, 2014 letter

constituted final agency action regarding the Detained Reloadable Aerial Shells, on or about

December 8, 2014, CPSC staff orally indicated to Jake’s that the CPSC intended to retest samples

of the Detained Reloadable Aerial Shells. On information and belief, the retesting occurred prior

to February 13, 2015.

       74.     On May 20, 2015, the CPSC issued another Notice of Noncompliance for the

Detained Reloadable Aerial Shells (attached as Exhibit I). This Notice came with laboratory

reports purportedly containing the results of the retests. In this Notice, the CPSC determined that

samples of two shipments originally determined by the CPSC to be intended to create an audible

effect, and therefore not compliant with regulations, were, upon retest, not intended to create an

audible effect, and therefore complied with regulations. Thus, although samples from these two

shipments were originally determined to have failed the “poof/bang” test, upon retest they were

determined to have passed the “poof/bang” test. The CPSC released those two shipments for

introduction into commerce.




                                                24
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 25 of 40



        75.     The May 20, 2015 Notice notified Jake’s that the other shipments of Detained

Reloadable Aerial Shells violated 16 C.F.R. §§ 1500.17(a)(3) or 1500.14(b)(7)(xv) (the Audible

Effects Regulation and the Reports Label Requirement). Like the prior Notices, the May 20, 2015

Notice effectively demanded that Jake’s destroy the remaining Detained Reloadable Aerial Shells.

It also advised Jake’s that sale or distribution in commerce of the referenced products was

prohibited by section 4 of the Federal Hazardous Substances Act, 15 U.S.C. § 1264, and section

19 of the Consumer Product Safety Act, 15 U.S.C. § 2069.

        76.     After retesting certain samples and confirming its prior results, the CPSC issued

another Notice of Noncompliance on March 7, 2016 (attached as Exhibit J). Like the prior Notices,

the March 7, 2016 Notice effectively demanded that Jake’s destroy the remaining Detained

Reloadable Aerial Shells. It also advised Jake’s that sale or distribution in commerce of the

referenced products could subject Jake’s and its officers to criminal and civil penalties under 15

U.S.C. §§ 1264 and 2069..

        77.     Jake’s attempted to avail itself fully of the informal appeal process set forth in

Chapter 3 of the CPSC’s Handbook, which states: “This Chapter contains the procedures to be

followed if a firm disagrees with Commission staff’s determination that a product is in violation

of a statute, rule, regulation, standard, or ban administered by the CPSC.” Handbook, Exhibit B

at 18. The Handbook advises a firm that disputes the agency’s finding of violation that it “may

submit, to the indicated [staff] recipient, all evidence and arguments that support why you believe

the product is not violative; [or] not subject to a specific statute, rule, regulation, standard, or ban.”

Id. “A firm may respond to a notice of noncompliance orally or in writing, and the firm may

request an informal hearing to meet personally with Office of Compliance or Import Surveillance

Division staff to present orally views and evidence.” Id. Among the items a firm may submit are




                                                   25
           Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 26 of 40



“any other relevant data to support the claim of compliance.” Id. Jake’s followed all of these

steps. Jake’s sent written responses to each of the Notices in which it detailed why the Audible

Effects Regulation did not apply to its Reloadable Aerial Shells, how the “poof/bang” test was

arbitrary and capricious, and how the Reloadable Aerial Shells did not violate 16 C.F.R. §

1500.14(b)(7)(xv). Jake’s also responded to other correspondence from the CPSC regarding the

Notices.

        78.    In addition, Jake’s requested and was granted an informal hearing in the form of an

in-person meeting between Jake’s counsel and CPSC staff, including Robert Kaye, Director of the

Office of Compliance and Field Operations, on December 14, 2017 at CPSC headquarters, in order

to discuss their respective positions. At that meeting, CPSC staff maintained that they intended to

enforce the existing regulations, as they understood them. Given that the CPSC staff has been

delegated authority from the Commission to make enforcement decisions about the compliance of

fireworks with 16 C.F.R. Part 1500, Jake’s understood from these comments that the CPSC had

completed its decision-making process with respect to these issues and that there were no further

efforts Jake’s could undertake to persuade the CPSC otherwise.

        79.    Consistent with that understanding, the CPSC issued to Jake’s three Notices of

Noncompliance on December 20, 2018 (attached collectively as Exhibit K), regarding samples

collected in April and May, 2018. Like the prior Notices, the December 20, 2018 Notices

effectively demanded that Jake’s destroy the remaining Detained Reloadable Aerial Shells. They

further advised Jake’s that sale or distribution in commerce of the referenced products could

subject Jake’s and its officers to criminal and civil penalties under 15 U.S.C. §§ 1264, 2069, and

2070.

        80.    The CPSC issued another Notice of Noncompliance on April 9, 2019 (attached as




                                                26
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 27 of 40



Exhibit L), regarding samples collected in October 2018. Like the prior Notices, the April 9, 2019

Notice effectively demanded that Jake’s destroy the remaining Detained Reloadable Aerial Shells.

It further advised Jake’s that sale or distribution in commerce of the referenced products could

subject Jake’s and its officers to criminal and civil penalties under 15 U.S.C. § 1264.

       81.     Based on the Notices of Noncompliance and LOAs sent to Jake’s by the CPSC

periodically over the last approximately 15 years, Jake’s has not sold the Reloadable Aerial Shells

subject to the Notices at great economic cost to Jake’s. Moreover, Jake’s has been required to

quarantine at least 23,676 cases of the subject products, having a total value of approximately

$2,651,712.

       82.     On April 19, 2019, Jake’s instituted an action in this Court against the CPSC and

its then-Acting-Chairman seeking, inter alia, a declaratory judgment clarifying that the Audible

Effects Regulation at issue does not apply to Jake’s Reloadable Aerial Shells, or—in the

alternative—that the agency’s enforcement of the Audible Effects Regulation through use of the

“poof/bang” test is arbitrary and capricious and therefore unlawful. See Paragraph 8, supra.

       83.     The CPSC moved to dismiss Jake’s amended complaint. On October 30, 2020,

Judge Grimm granted the motion and dismissed the action without prejudice for lack of subject

matter jurisdiction, based on a determination that the amended complaint did not demonstrate that

the CPSC had taken “final agency action” as required for judicial review under the Administrative

Procedure Act (“APA”). Referring to the May 20, 2015 Notice of Noncompliance at issue and the

CPSC’s Regulated Products Handbook, Judge Grimm held:

        In sum, based on my review of Jake’s Fireworks allegations as well as the letters
       and Handbook, I conclude that the Notice was not the consummation of the
       Commission’s decision-making process. While the process was nearing its end,
       there are still steps that Jake’s Fireworks may take, such as request for hearing or
       reconsideration. Therefore, Jake’s Fireworks has failed to satisfy the first prong of
       the Bennett [v. Spear, 520 U.S. 154 (1997)] test.



                                                27
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 28 of 40



Jake's Fireworks Inc. v. United States Consumer Prod. Safety Comm'n, 498 F. Supp. 3d 792, 807

(D. Md. 2020). A copy of Judge Grimm’s memorandum opinion is attached hereto as Exhibit M.

       84.      Pursuant to Judge Grimm’s ruling, Jake’s again reviewed the available

administrative appeal options provided in the Handbook and CSPC regulations and acted

accordingly. On November 13, 2020, Jake’s counsel sent a letter to Robert Kaye, Director of the

CPSC’s Office of Compliance and Field Operations, in which Jake’s reviewed the prior informal

hearing process in which it had engaged with the CPSC, specifically requested identification of

any additional steps that Jake needed to take in order to exhaust its administrative appeal options,

and requested a meeting if the CPSC believed a meeting would be necessary to perfect the informal

hearing process or would otherwise be helpful. A copy of the November 13, 2020 letter is attached

as Exhibit N.

       85.      Mr. Kaye sent a responding letter on December 16, 2020, in which he stated that,

pursuant to the Handbook, Jake’s had the ability to submit “information bearing on the samples’

compliance with the requirements of [the Audible Effects Regulation].” The letter also discussed

matters not directly relevant to the CPSC’s consummation of its decision-making process as to

whether Jake’s products are subject to, and violate, the Audible Effects Regulation. Such

additional matters included the status of import and entry bonds and the steps the CPSC must take

in order to seek enforcement action in the future regarding the subject products if Jake’s were to

sell them. A copy of the December 16, 2020 letter is attached as Exhibit O.

       86.      On January 11, 2021, Jake’s counsel sent a reply letter to Mr. Kaye. In that letter,

Jake’s followed the instructions in the Handbook and the guidance in Mr. Kaye’s December 16,

2020 letter by submitting information bearing on the compliance with the requirements of the

Audible Effects Regulation. Jake’s provided a detailed summary of the reasons and evidence




                                                 28
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 29 of 40



demonstrating that the ban in the Audible Effects Regulation does not apply to its Reloadable

Aerial Shells (which therefore “comply” with the regulation).          Jake’s also referred to and

incorporated its prior correspondence demonstrating that the “poof/bang” test is arbitrary and

capricious. In the same letter, Jake’s requested that the CPSC confirm that it has determined that

the Audible Effects Regulations applies to Jake’s fireworks, notwithstanding Jake’s contrary

arguments; that Jake’s received an in-person hearing on December 14, 2017; and that Jake’s had

exhausted its administrative appeals of the issues raised in the Notices. In an abundance of caution,

Jake’s again requested an in-person hearing with staff if the CPSC did not agree with these points.

A copy of the January 11, 2021 letter is attached as Exhibit P.

       87.       Mr. Kaye sent a very brief responding letter on February 8, 2021. That letter did

not address any of the arguments or evidence that Jake’s presented in its January 11, 2021 letter,

and did not confirm any of the requested points bearing on final agency action. Rather, Mr. Kaye’s

letter essentially ignored these issues and conflated the separate issue of potential future

enforcement actions against Jake’s—if it were to sell the subject products—with the matters at

hand that bear on whether the products may lawfully be sold. That is, Mr. Kaye confused the

initiation of an enforcement action—which has not yet happened—with the separate issue of

whether, under the FHSA, the CPSC has taken final agency action by determining that the Audible

Effects Regulation applies to these products and that, by application of the “poof/bang” test, the

products violate that regulation—which has happened. Mr. Kaye concluded by informing Jake’s

that its “request for an informal hearing is premature because we have not notified you that the

Commission intends to take further action against Jake’s or its products.” A copy of the February

8, 2021 letter is attached as Exhibit Q.

       88.     Mr. Kaye’s December 16, 2020 and February 8, 2021 letters, combined with the




                                                 29
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 30 of 40



agency’s earlier notices and actions, including specifically the Notices of Noncompliance dated

May 20, 2015, March 7, 2016, December 20, 2018 and April 9, 2019, demonstrate that the CPSC

has taken final agency action with respect to the agency’s erroneous determinations that (1) Jake’s

small reloadable aerial shell fireworks are banned by the Audible Effects Regulation, and that (2)

the CPSC’s “poof/bang” test, which the agency has used at least since the 1999 Shelton decision,

is a valid method of determining whether Jake’s products violate that ban. These letters and notices

collectively reflect consummation of the agency’s decision-making process, determine Jake’s

rights and obligations, and have legal consequences for Jake’s. Unlike CPSC staff actions under

the Consumer Product Safety Act, 15 U.S.C. § 2051, et seq., which do not alter a manufacturer’s

legal rights and obligations on their own, Notices of Noncompliance issued under the FHSA

establish a manufacturer’s legal rights and obligations and have legal consequences (including the

purported creation of a “knowing violation”) with no further action required by the full

Commission. Compare 15 U.S.C. § 2064(c)(1) (CPSA provision indicating that the Commission

“may order” a manufacturer to cease distribution of a product) with 15 U.S.C. § 1263(a) (FHSA

provision rendering it unlawful to introduce a banned product into commerce). And, CPSC

regulations and the Handbook show that no further procedures are available to Jake’s or needed

by the CPSC to consummate its decision-making process as to these issues.

       89.     The clear legal jeopardy in which the CPSC’s Notices of Noncompliance place

Jake’s if, notwithstanding the receipt of the notices, Jake’s were to market the affected products

have and will continue to deprive Jake’s of the ability to avail itself of significant business

opportunities with respect to the affected products. That the CPSC asserts that the Notices do not,

in and of themselves, outright prohibit Jake’s from selling the products does not mean that the

Notices lack legal effects or consequences. See, e.g. Spirit Airlines, Inc. v. United States Dep’t of




                                                 30
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 31 of 40



Transp., No. 19-1248, slip op. at 8-9 (D.C. Cir. May 21, 2021) (“We can see, however, that an

agency’s action need not flatly prohibit a party from acting in order to affect its legal rights; it is

enough that the agency action presently and directly limits or defeats a party’s ability to enter in

an advantageous business arrangement.”).

       90.     As the D.C. Circuit recognized recently in Spirit Airlines, even governmental action

that leaves an entity free to sell its products to some entities, while restricting it from selling the

products to others, determines legal rights and obligations, and has legal consequences sufficient

for finality. See Spirit Airlines, Inc. v. United States Dep't of Transportation & Fed. Aviation

Admin., 997 F.3d 1247, 1252-53 (D.C. Cir. 2021) (discussing Safe Extensions, Inc. v. FAA, 509

F.3d 593 (D.C. Cir. 2007)). In fact, the Federal Aviation Administration’s (“FAA”) actions in

Spirit Airlines left the regulated entities far more options than do the CPSC’s Notices at issue here.

As the D.C. Circuit noted, Spirit Airlines is “legally free to operate unapproved flights”

notwithstanding the FAA order under review in the case. Id. at 1253. “The FAA’s action,

however, effectively forecloses Spirit from operating as many peak-period flights as it would

otherwise do. In this way, the FAA’s action hinders Spirit’s ability to pursue business opportunities

as surely as would an express prohibition.” Id. at 1253. Here, the CPSA’s actions “effectively

foreclose” Jake’s from selling the affected products to anyone, and they do so in a particularly

intrusive and threatening way: by rendering sales of the products illegal and exposing Jake’s to

enhanced penalties, including criminal penalties.

       91.     Alternatively, judicial review is available under the APA because, on information

and belief, the CPSC has in fact consummated its decision-making process as to these issues but

is refusing to so acknowledge, as part of a strategy to evade judicial review permanently while

prohibiting Jake’s from selling its lawful products. After all, the CPSC is aware that Jake’s is




                                                  31
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 32 of 40



unlikely to sell the subject Reloadable Aerial Shells in the face of repeated threats by the agency

to pursue civil and/or criminal penalties against Jake’s or its officers if it does so.

B.      The CPSC’s Application of the Audible Effects Regulation is Unlawful.

        92.     The CPSC has a legal duty to apply correctly its regulations banning certain

products, including the Audible Effects Regulation.

        93.     As discussed above, the Audible Effects Regulation does not apply to these small

reloadable aerial shells.

        94.     The CPSC’s application of the Audible Effects Regulation to Jake’s Reloadable

Aerial Shells, including the Detained Reloadable Aerial Shells, is arbitrary, capricious, an abuse

of discretion and unlawful.

        95.     The CPSC’s application of 16 C.F.R. § 1500.14(b)(7)(xv) (the Reports Labeling

Requirement) to Jake’s Reloadable Aerial Shells, including the Detained Reloadable Aerial Shells,

is arbitrary, capricious, an abuse of discretion and unlawful. Nothing in the general fireworks

labeling rule contains any requirement to identify “reports” or any other audible effect. Thus, there

is no “Reports Labeling Requirement.”

        96.     The CPSC’s “poof/bang” test to determine whether Jake’s products are “intended

to produce an audible effect” and whether they should be labeled as requiring reports is an

unreasonable methodology, and is arbitrary, capricious, an abuse of discretion and unlawful. The

subjective and unrepeatable nature of the “poof/bang” test applied by the CPSC means that

manufacturers or importers, such as Jake’s, cannot determine, prior to importing the devices,

whether Reloadable Aerial Shells comply with CPSC regulations despite testing by an

independent, non-profit third-party laboratory. Rather, the manufacturer and importer does not

learn of the alleged violation until the small reloadable aerial shells have reached the port and the




                                                  32
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 33 of 40



CPSC tests them and renders its subjective and arbitrary judgment.

       97.     Nevertheless, the CPSC continues to unlawfully apply the Audible Effects

Regulation and the purported Reports Labeling Requirement to Jake’s Reloadable Aerial Shells,

including the Detained Reloadable Aerial Shells, and to apply the arbitrary, capricious, abusive of

discretion and unlawful “poof/bang” test. Indeed, as time goes on, the CPSC has accelerated the

sampling of Jake’s Reloadable Aerial Shells, and the number of Detained Reloadable Aerial Shells

continues to increase. Based on its past pattern and practice of conduct, and on information and

belief, the CPSC will continue to sample and detain Jake’s Reloadable Aerial Shells in the future,

will increase its rate of sampling, will continue to apply the Audible Effects Regulation and the

purported Reports Labeling Requirement to Jake’s Reloadable Aerial Shells, and will continue to

apply the arbitrary, capricious, abusive of discretion and unlawful “poof/bang” test. As a result,

the number of Detained Reloadable Aerial Shells will continue to increase, at great cost, including

significant lost business opportunities, to Jake’s.

       98.     The unlawful application of the Audible Effects Regulation causes Jake’s

irreparable harm through loss or destruction of products intended for commerce, delay in

introducing products into commerce in a timely and planned manner, inability to introduce

products into commerce during major selling seasons, inability to maintain an adequate stock of

products for seasonal sales, unquantifiable loss of customers, unquantifiable lost sales, and other

unquantifiable losses.

       99.     The unlawful application of the Reports Labeling Requirement to Jake’s

Reloadable Aerial Shells causes Jake’s irreparable harm through loss or destruction of products

intended for commerce, delay in introducing products into commerce in a timely and planned

manner, inability to introduce products into commerce during major selling seasons, inability to




                                                  33
           Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 34 of 40



maintain an adequate stock of products for seasonal sales, unquantifiable loss of customers,

unquantifiable lost sales, and other unquantifiable losses.

          100.   The unlawful application of the “poof/bang” test causes Jake’s irreparable harm

through loss or destruction of products intended for commerce, delay in introducing products into

commerce in a timely and planned manner, inability to introduce products into commerce during

major selling seasons, inability to maintain an adequate stock of products for seasonal sales,

unquantifiable loss of customers, unquantifiable lost sales, and other unquantifiable losses.

          101.   For all these reasons, Jake’s seeks a declaration that the Audible Effects Regulation

is not applicable to small reloadable aerial shells, and its application to small reloadable aerial

shells is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

          102.   Jake’s also seeks a declaration that the Labeling Regulation does not require that

small reloadable aerial shells have a warning label informing users that they may emit loud reports

upon use, because no such requirement exists.

          103.   Jake’s also seeks a declaration that the CPSC’s use of its “poof/bang” test (or “ear”

test) in making the determination whether small reloadable aerial shells are “intended to produce

audible effects” within the meaning of the Audible Effects Regulation, or to determine the

applicability of the purported Reports Labeling Requirement, is unreasonable, arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.

                               FIRST CAUSE OF ACTION
   (Violation of the Administrative Procedure Act for Abuse of Discretion and Unlawful,
    Arbitrary and Capricious Agency Action) (Application of 16 C.F.R. § 1500.17(a)(3))

          104.   Jake’s incorporates by reference paragraphs 1 through 103 as though restated

herein.

          105.   By applying the Audible Effects Regulation to the Reloadable Aerial Shells, the




                                                  34
           Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 35 of 40



CPSC has violated, and will continue to violate, the Administrative Procedure Act (APA), 5 U.S.C.

§§ 701-706.

          106.   Application of the Audible Effects Regulation to Reloadable Aerial Shells is

arbitrary, capricious, and an abuse of discretion, or otherwise not in accordance with law, because

the Reloadable Aerial Shells are 1.4G consumer fireworks containing only propelling and

expelling charges to which those regulations have never applied.

          107.   Mr. Kaye’s December 16, 2020 letter and February 8, 2021 letter, combined with

the CPSC’s earlier notices and actions, including specifically the Notices of Noncompliance dated

May 20, 2015, March 7, 2016, December 20, 2018 and April 9, 2019, is final agency action, and

there is no other adequate remedy in a court.

                           SECOND CAUSE OF ACTION
 (Violation of The Administrative Procedure Act for Abuse of Discretion and Unlawful,
Arbitrary And Capricious Agency Action) (Application Of Non-Existent Reports Labeling
                                    Requirement)

          108.   Jake’s incorporates by reference paragraphs 1 through 107 as though restated

herein.

          109.   By applying a non-existent reports labeling requirement to the Reloadable Aerial

Shells, the CPSC has violated, and will continue to violate, the Administrative Procedure Act

(APA), 5 U.S.C. §§ 701-706.

          110.   Application of a reports labeling requirement to Reloadable Aerial Shells is

arbitrary, capricious, and an abuse of discretion, or otherwise not in accordance with law, because

no such requirement exists in the pertinent regulations. Nor, as the CPSC itself has acknowledged,

would any such requirement be justified by a hazard.

          111.   Mr. Kaye’s December 16, 2020 letter and February 8, 2021 letter, combined with

the CPSC’s earlier notices and actions, including specifically the Notices of Non-Compliance



                                                35
           Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 36 of 40



dated May 20, 2015, March 7, 2016, December 20, 2018 and April 9, 2019, is final agency action,

and there is no other adequate remedy in a court.

                               THIRD CAUSE OF ACTION
   (Violation of the Administrative Procedure Act for Abuse of Discretion and Unlawful,
            Arbitrary and Capricious Agency Action) (Use of “Poof/Bang” Test)

          112.   Jake’s incorporates by reference paragraphs 1 through 111 as though restated

herein.

          113.   By applying the Audible Effects Regulation and purported Reports Labeling

Requirement and in using the “poof/bang” test, the CPSC has violated, and will continue to violate,

the Administrative Procedure Act (APA), 5 U.S.C. §§ 701-706.

          114.   Even if the Audible Effects Regulation and purported Reports Labeling

Requirement did apply to 1.4G consumer fireworks, using the “poof/bang” test to determine

compliance with these regulations would be arbitrary, capricious, and an abuse of discretion, or

otherwise not in accordance with law. The test is inherently unreasonable, subjective and

unreliable, as the CPSC staff itself has acknowledged and as is evident from the test itself because

the test can produce varying results depending on the individual administering the test, the

equipment utilized by the individual administering the test, and the prevailing weather and

environmental conditions (such as wind speed and direction) at the time and place the test is

administered.

          115.   The test’s unreasonable and subjective nature also is apparent from the fact that

identical Jake’s Reloadable Aerial Shells tested in the same general time frame were found to

comply with regulations. The CPSC determined that some samples of the Detained Reloadable

Aerial Shells did not comply with regulations when originally tested, but complied with

regulations when retested.




                                                36
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 37 of 40



       116.    Using the “poof/bang” test also is unreasonable, arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law in that its subjectivity makes it impossible for

Jake’s or other fireworks importers, distributors, or producers to know, before actual CPSC testing,

when they will be deemed to be shipping, receiving, or distributing non-compliant products.

       117.    Using the “poof/bang” test also is unreasonable, arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law in that there is no basis for the CPSC to

determine that a Reloadable Aerial Shell deemed to be “intended to produce audible effects” by

application of the “poof/bang” test is any more hazardous or likely to injure a consumer than a

Reloadable Aerial Shell determined by application of the “poof/bang” test not to be “intended to

produce audible effects.”

       118.    Mr. Kaye’s December 16, 2020 letter and February 8, 2021 letter, combined with

the CPSC’s earlier notices and actions, including specifically the Notices of Noncompliance dated

May 20, 2015, March 7, 2016, December 20, 2018 and April 9, 2019, is final agency action, and

there is no other adequate remedy in a court.

                                   PRAYERS FOR RELIEF

       WHEREFORE, Jake’s requests the entry of an Order with this relief:

       A.      A declaration that Jake’s Reloadable Aerial Shells are not subject to the Audible

Effects Regulation (16 C.F.R. § 1500.17(a)(3)) as currently promulgated, both in the past and

continuing into the future.

       B.      A declaration that there is no “Reports Labeling Requirement” contained within the

fireworks labeling regulation (16 C.F.R. § 1500.14(b)(7)) as currently promulgated, both in the

past and continuing into the future.




                                                37
         Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 38 of 40



       C.      A preliminary and permanent injunction prohibiting the CPSC from applying the

Audible Effects Regulation (16 C.F.R. § 1500.17(a)(3)) and any Reports Labeling Requirement

under the fireworks labeling regulation (16 C.F.R. § 1500.14(b)(7)) as currently promulgated to

Jake’s Reloadable Aerial Shells.

       D.      A declaration that using the “poof/bang” test by the CPSC to determine whether a

Reloadable Aerial Shell is “intended to produce audible effects” and subject to the Audible Effects

Regulation (16 C.F.R. § 1500.17(a)(3)) and any Reports Labeling Requirement under the Labeling

Regulation (16 C.F.R. § 1500.14(b)(7)) is unreasonable, arbitrary, capricious, an abuse of

discretion and unlawful.

       E.      A preliminary and permanent injunction prohibiting the use of the “poof/bang” test

by the CPSC to determine whether a Reloadable Aerial Shell is “intended to produce audible

effects” and subject to the Audible Effects Regulation (16 C.F.R. § 1500.17(a)(3)) and any Reports

Labeling Requirement under the fireworks labeling regulation (16 C.F.R. § 1500.14(b)(7)).

       F.      Awarding Jake’s its costs and reasonable attorney’s fees in defending itself before

the CPSC and in pursuing this action under the Equal Access to Justice Act (28 U.S.C. § 2412)

and under such other authorities that may authorize this relief.

       G.      Granting to Jake’s such other and further relief as the Court deems necessary and

appropriate.

Dated: August 13, 2021                                       /s/ Timothy L. Mullin, Jr.
                                                             Timothy L. Mullin, Jr.
                                                             Federal Bar Number 00082
                                                             Miles & Stockbridge P.C.
                                                             100 Light Street
                                                             Baltimore, MD 21202
                                                             (410) 385-3641 (direct dial)
                                                             (410) 385-3700 (fax)
                                                             tmullin@milesstockbridge.com




                                                 38
Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 39 of 40



                                       /s/ Dwight W. Stone II__________
                                       Dwight W. Stone II
                                       Federal Bar Number 22968
                                       Miles & Stockbridge P.C.
                                       100 Light Street
                                       Baltimore, MD 21202
                                       (410) 385-3649 (direct dial)
                                       (410) 385-3700 (fax)
                                       dstone@milesstockbridge.com

                                       /s/ Joshua F. Kahn
                                       Joshua F. Kahn
                                       Federal Bar Number 18238
                                       Miles & Stockbridge P.C.
                                       100 Light Street
                                       Baltimore, MD 21202
                                       (410) 385-3411 (direct dial)
                                       (410) 385-3700 (fax)
                                       jkahn@milesstockbridge.com


                                       /s/ Erika Z. Jones
                                       Erika Z. Jones
                                       Federal Bar Number 20601
                                       Mayer Brown LLP
                                       1999 K Street, N.W.
                                       Washington, DC 20006-1101
                                       (202) 263-3232 (direct dial)
                                       (202) 263-5232 (fax)
                                       ejones@mayerbrown.com

                                       Adam C. Sloane
                                       (pro hac vice admission application to
                                       be filed)
                                       Mayer Brown LLP
                                       1999 K Street, N.W.
                                       Washington, DC 20006-1101
                                       (202) 263-3269 (direct dial)
                                       (202) 263-5232 (fax)
                                       asloane@mayerbrown.com




                              39
Case 8:21-cv-02058-DKC Document 1 Filed 08/13/21 Page 40 of 40




                                       Ankur Mandhania
                                       (pro hac vice admission application to
                                       be filed)
                                       Mayer Brown LLP
                                       1999 K Street, N.W.
                                       Washington, DC 20006-1101
                                       (202) 263-3011 (direct dial)
                                       (202) 263-5232 (fax)
                                       amandhania@mayerbrown.com

                                       Counsel for Plaintiff




                              40
